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                    UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF TEXAS
                          MCALLEN DIVISION

UNITED STATES OF AMERICA

v.                                           Case Number: 7:19−cr−01995

Sunil Wadhwani




                           NOTICE OF SETTING

TAKE NOTICE THAT A PROCEEDING IN THIS CASE HAS BEEN SET FOR
THE PLACE, DATE AND TIME SET FORTH BELOW.


Before the Honorable
Ricardo H Hinojosa
PLACE:
Bentsen Tower
1701 W. Hwy. 83
McAllen, Texas 78501
DATE: 5/22/2020

TIME: 03:30 PM
TYPE OF PROCEEDING: Re−Arraignment Hearing




Date: May 21, 2020
                                                        David J. Bradley, Clerk
